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                                                                      JndexTM
                                                   One IMS Drive
                                             Plymouth Meeting, PA19462

 ATTENTIONTO: Dr. RICHARDFISCHBEIN
 IMS Reference #: 664539

You are Invited to join a select group of physicians who participate In a nationally
recognized, HIPAA-compliant study that collects data from office-based physician
practices. This is to track patterns of diseases and identify new therapeutic opportu nlties
across the entl re US.
Two days per quarter, record the following patient Information online.

                     • Diagnosis                    • Therapy (I.e ., drugs prescribed)
                     • Desired action               • HIPAA-cornpliant patient demographics

  Your participation in this initiative will benefit both public and private-sector
  establishments across the globe, including:

• Centers for Disease Control and Prevention                    • 'v\brld Health Organization (WHO)
• Teaching hospitals and medical schools                        • Healthcare manufacturers and R&D


REWARDS PROGRAM

As a reward for your contributions, you will earn points towards the purchase of a wide variety of
gifts from our catalog (www.imsrxpanels.com), items such as;
     • GIFT CARDS(Macy's, Target, Home Depot, Restaurants, Gas Cards, etc.)
     • TICKETS ( Cinemas, Concerts, Sporting /:vents)
     •   MERCHANDISE ( Garmln® - GPS, KltchenAld® -Housewares, Apple®-electronics, VISA®-
         Cashcard.)
     • FREELINKSt o Medical Journals & AMAWebsite


         TO PARTICIPATE,PLEASEPRINT CLEARLYAND FAX TO 1-877-270-0502
    __    Yes, I ' ll part icipate      __     I would like to know.more about the study. Contact me.

Name'--------------------------------
Address
          ------------------------------
City __________________                      State.,__
                                                     _____   Zip___                                     _
Phone.______________                   Fax.______________                                               _
Mobile Number ___       _____________                 ____ _____                                    _
Primary Spedaltv,______________________                                                             _
Email_
    · -------------------------------
For more information, please contact us via email at: Moribeth.Francisco@gulntilesims .com
or via phone at: 1-866-373-0383.
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